Case 8:18-cv-02076-DOC-KES Document 29 Filed 04/10/19 Page 1 of 12 Page ID #:267




                         UNITED STATES DISTRICT COURT                            JS-6
                        CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES – GENERAL

   Case No. SA CV 18-2076-DOC (KESx)                                 Date: April 10, 2019



  Title: NUTRAMAX LABORATORIES, INC. ET AL. V. BODY WISE
        INTERNATIONAL, INC.


  PRESENT:

                    THE HONORABLE DAVID O. CARTER, JUDGE

               Deborah Lewman                                  Not Present
               Courtroom Clerk                                Court Reporter

        ATTORNEYS PRESENT FOR                       ATTORNEYS PRESENT FOR
              PLAINTIFF:                                DEFENDANTS:
             None Present                                None Present



        PROCEEDINGS (IN CHAMBERS): ORDER GRANTING APPLICATION
                                   FOR DEFAULT JUDGMENT [21]

        Before the Court is Plaintiffs Nutramax Laboratories, Inc. (“Nutramax” or
  “Nutramax Labs”) and Nutramax Laboratories Consumer Care, Inc.’s (“Nutramax
  Consumer Care”) Motion for Default Judgment (Dkt. 21). The Court finds this matter
  appropriate for resolution without oral argument. Fed. R. Civ. P. 78; L.R. 7-15. After
  considering all relevant filings, the Court GRANTS the Motion for Default Judgment.

  I.    Background

        A.     Facts

          The following facts are drawn from the Complaint (“Compl.”) (Dkt. 1). Plaintiffs
  assert three claims for patent infringement against Defendant Body Wise International,
  Inc. (“Body Wise”). Compl. ¶¶ 29–48. Nutramax Labs retains ownership and interest
  over (1) United States Patent Number 6,797,289 (the “’289 Patent”); and (2) United
Case 8:18-cv-02076-DOC-KES Document 29 Filed 04/10/19 Page 2 of 12 Page ID #:268
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

   Case No. SA CV 18-2076-DOC (KESx)                                         Date: April 10, 2019
                                                                                           Page 2

  States Patent Number 8,753,697 (the “’697 Patent” and together with the ’289 Patent, the
  “Asserted Patents”). Id. ¶¶ 6–8. The patents were issued by the U.S. Patent and
  Trademark Office (“USPTO”) on September 28, 2004 and July 17, 2014, respectively. Id.
  Nutramax Consumer Care is an affiliate of Nutramax Labs and a licensee of the Asserted
  Patents. Id.

          Since 1992, Nutramax Labs has spent decades and millions of dollars researching,
  developing, marketing, distributing, and selling high-quality and well-respected
  nutritional supplement products. Id. ¶¶ 1–2, 10. Nutramax Labs is a leader in producing
  products that contain combinations of avocado-soybean unsaponifiables (“ASU”),
  glucosamine, and chondroitin sulfate used in the management of joint health. Id. ¶ 11.
  Nutramax obtained patents to protect its innovative solutions in the joint health field. Id.
  ¶ 12.

         Defendant Body Wise is a Delaware corporation authorized to do business in
  California, and its principal place of business is in Irvine, California. Id. ¶ 3. Recently,
  Body Wise has competed directly with Nutramax to supply nutritional supplement
  products combining ASU, glucosamine, and chondroitin sulfate to consumers for the
  improvement of joint health. Id. ¶ 13. Nutramax alleges that Body Wise’s “Joint
  Complete” product has diverted sales away from Nutramax by infringing on the Asserted
  Patents. Id. ¶¶ 13–14.

         In addition to directly infringing the Asserted Patents, Nutramax alleges that Body
  Wise has indirectly infringed at least Claim 21 of the ’697 Patent by instructing,
  directing, and/or requiring others, including its customers, purchasers, users, and
  developers, to perform all or some of the steps of the claimed method. Id. ¶ 15. The
  combination of the abovementioned ingredients falls within one or more claims of the
  ’289 Patent and the ’697 Patent. Id. ¶¶ 25–28. Plaintiffs also allege that Defendant
  willfully infringed and continues to willfully infringe the Asserted Patents. Id. ¶¶ 29–48.
  On September 10, 2018, Nutramax provided Body Wise actual notice of its patent
  infringement. Id. ¶ 28. Nutramax sent a second notice letter on October 4, 2018. Id.

         B.     Procedural History

         On November 20, 2018, Plaintiffs filed the Complaint. Plaintiffs assert claims
  under 35 U.S.C. § 1 et seq., including §§ 271 and 281 for (1) direct patent infringement
  of ’289 Patent; (2) direct patent infringement of ’697 Patent; and (3) direct and indirect
  patent infringement of Claim 21 of the ’697 Patent under 35 U.S.C. § 271(b). Compl. ¶¶
  29–48. Plaintiffs seek treble damages for willful infringement pursuant to 35 U.S.C. §
Case 8:18-cv-02076-DOC-KES Document 29 Filed 04/10/19 Page 3 of 12 Page ID #:269
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

   Case No. SA CV 18-2076-DOC (KESx)                                          Date: April 10, 2019
                                                                                            Page 3

  284, a permanent injunction, pre- and post-judgment interests, and reasonable attorneys’
  fees and costs pursuant to 35 U.S.C. § 285. Id. at 14–15.

         On December 31, 2018, Plaintiffs requested the Clerk enter default against
  Defendant (Dkt. 16). On January 2, 2019, the Clerk entered default pursuant to Fed. R.
  Civ. P. 55(a) (Dkt. 17). On January 29, 2019, Plaintiffs filed this Motion.

  II.    Legal Standard

         Federal Rule of Civil Procedure 55(b) provides that the Court may, in its
  discretion, order default judgment following the entry of default by the Clerk. Fed. R.
  Civ. P. 55(b). Local Rule 55 sets forth procedural requirements that must be satisfied by a
  party moving for default judgment. C.D. Cal. R. 55. Entry by the Clerk is proper when
  the amount of damages is “for a sum certain or a sum that can be made certain by
  computation”; entry by the Court is proper “[i]n all other cases.” Fed. R. Civ. P. 55(b).
  Upon entry of default, the well-pleaded allegations of the complaint are taken as true,
  with the exception of allegations concerning the amount of damages. See, e.g., Geddes v.
  United Fin. Group, 559 F.2d 557, 560 (9th Cir. 1977). However, “necessary facts not
  contained in the pleading, and claims which are legally insufficient, are not established
  by default.” Cripps v. Life Ins. Co. of N. Am., 980 F.2d 1261, 1267 (9th Cir. 1992).
  Where the pleadings are insufficient, the Court may require the moving party to produce
  evidence in support of the motion for default judgment. See TeleVideo Sys., Inc. v.
  Heidenthal, 826 F.2d 915, 917–18 (9th Cir. 1987).

         When deciding whether to enter default judgment, courts consider seven factors:

         (1) the possibility of prejudice to the plaintiff; (2) the merits of plaintiff’s
         substantive claim; (3) the sufficiency of the complaint; (4) the sum of
         money at stake in the action; (5) the possibility of a dispute concerning
         material facts; (6) whether the default was due to excusable neglect; and (7)
         the strong policy underlying the Federal Rules of Civil Procedure favoring
         decisions on the merits.

  Eitel v. McCool, 782 F.2d 1470, 1471–72 (9th Cir. 1986).
Case 8:18-cv-02076-DOC-KES Document 29 Filed 04/10/19 Page 4 of 12 Page ID #:270
                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

   Case No. SA CV 18-2076-DOC (KESx)                                         Date: April 10, 2019
                                                                                           Page 4

  III.   Discussion

         A.     Procedural Requirements

        Plaintiffs have satisfied the requirements of Local Rules 55-1 and 55-2 and Federal
  Rule of Civil Procedure 55(b). Plaintiffs have requested (Dkt. 16) and received (Dkt. 17)
  an entry of default against Defendant. Having determined Plaintiffs’ procedural
  compliance, the Court turns to the substance of Plaintiffs’ Motion.

         B.     Eitel Factors

                1. The Possibility of Prejudice to Plaintiffs

          The first Eitel factor requires the Court to consider the harm to plaintiff if the
  Court does not grant default judgment. See PepsiCo, Inc. v. Cal. Sec. Cans, 238 F. Supp.
  2d 1172, 1177 (C.D. Cal. 2002). Here, without an entry of default judgment Plaintiffs
  will be prejudiced and denied the right to a judicial resolution of the claims presented,
  and without other recourse for recovery. See id. Given the situation alleged, Nutramax
  “will likely suffer great prejudice through the loss of sales and diminution of goodwill if
  default is not entered.” Philip Morris USA, Inc. v. Castworld Prods., Inc., 219 F.R.D.
  494, 499 (C.D. Cal. 2003). Body Wise has ignored repeated warnings that it is violating
  Nutramax’s rights by continuing to sell Body Wise’s allegedly infringing products.
  Accordingly, the Court finds that this factor weighs in favor of default judgment.

                2. Merits of Claim and Sufficiency of the Complaint

         Courts often consider the second and third Eitel factors together. See PepsiCo, 238
  F. Supp. 2d at 1175. The second and third Eitel factors favor default judgment where the
  complaint states a claim for relief. Id. at 1177 (citing Danning v. Lavine, 572 F.2d 1386,
  1388 (9th Cir. 1978)). In their analyses of the second and third Eitel factors, courts accept
  as true all well-pleaded allegations regarding liability. See Fair Hous. of Marin v. Combs,
  285 F.3d 899, 906 (9th Cir. 2002).

          Here, Plaintiffs allege that Body Wise’s joint health product directly and indirectly
  infringe on the Asserted Patents. See generally Compl. The Court now examines whether
  Nutramax has sufficiently alleged facts that would permit recovery under these theories of
  liability.
Case 8:18-cv-02076-DOC-KES Document 29 Filed 04/10/19 Page 5 of 12 Page ID #:271
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

   Case No. SA CV 18-2076-DOC (KESx)                                           Date: April 10, 2019
                                                                                             Page 5

                       a.      Direct Patent Infringement

          To establish a direct infringement claim under 35 U.S.C. § 271(a), Nutramax must
  show: (1) ownership of the Asserted Patents; (2) infringement of one or more claims of the
  Asserted Patents by “making, selling or using” devices embodying the patented inventions;
  (3) that it has provided Body Wise notice of its infringement; and (4) a demand for damages
  and/or injunctive relief. See HeadBlade, Inc. v. Products Unlimited, LLC, CV 15-02611
  SJO (VBKx), 2016 WL 6237900 (C.D. Cal May 5, 2016) (citing McZeal v. Spring Nextel
  Corp., 501 F.3d 1354, 356–57 (Fed. Cir. 2007); see also 35 U.S.C. § 271(a)).

          Nutramax has sufficiently alleged each of these elements. First, Plaintiffs allege that
  it is the owner of the Asserted Patents. Compl. Exs. A, B. Second, Nutramax sufficiently
  alleges that Body Wise infringed the Asserted Patents, as supported by declarations
  demonstrating that Body Wise sold its Joint Complete product on its website and through
  online retailers. See John W. Cox Declaration (“Cox Decl.”) (Dkt. 21-3), Ex. 4. Nutramax
  also proffers a detailed substantive infringement analysis in support of its motion. Mot.,
  Ex. A (Dkt. 21-2); see also, generally, Grace Cornblatt Declaration (“Cornblatt Decl.”)
  (Dkt. 21-2). Third, Nutramax sent two separate notices to Body Wise regarding its
  infringement of the Asserted Patents on September 10, 2018 and October 4, 2018. Compl.
  ¶ 28. Lastly, in its prayer for relief, Nutramax demands permanent injunctive relief and
  damages for Body Wise’s infringement of its patented products. Id. at 14–15.

         Nutramax has pleaded facts sufficient to establish claims of direct infringement of
  the Asserted Patents. Accordingly, Eitel factors 2 and 3 weigh in favor of granting the
  default judgment against Body Wise as to the direct infringement claim.

                       b.      Indirect Patent Infringement

         Nutramax alleges that Body Wise has indirectly infringed at least Claim 21 of the
  ’697 Patent in violation of 35 U.S.C. § 271(b) by instructing, directing and/or requiring
  others, including customers, purchasers, users, and developers to perform some of the steps
  of the method claim under the doctrine of equivalents through the sales of its Joint
  Complete product. Compl. ¶ 45.

         To establish liability under 35 U.S.C. § 271(b), a plaintiff must prove that once the
  alleged infringer knew of the patent, the infringer “actively and knowingly aided and
  abetted another’s direct infringement.” DSU Med. Corp. v. JMS Co., Ltd., 471 F.3d 1293,
  1305 (Fed. Cir. 2006) (quoting Water Techs. Corp. v. Calco, Ltd., 850 F.2d 660, 668 (Fed.
  Cir. 1988)). The alleged infringer must be shown to have knowingly induced infringement
  and possessed the specific intent to encourage another’s infringement. See id. at 1306. If
Case 8:18-cv-02076-DOC-KES Document 29 Filed 04/10/19 Page 6 of 12 Page ID #:272
                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

   Case No. SA CV 18-2076-DOC (KESx)                                           Date: April 10, 2019
                                                                                             Page 6

  an entity offers a product with the object of promoting its use to infringe through active
  steps “such as advertising an infringing use or instructing how to engage in an infringing
  use,” this establishes the alleged infringer’s affirmative intent to use the product to infringe
  existing patents. Id. at 1305.

          Here, Nutramax has sufficiently alleged that Body Wise is liable for indirect
  infringement of Plaintiffs’ Asserted Patents, at least under Claim 21 of the ’697 Patent.
  Claim 21 of the ’697 Patent provides: “A method of treating or repairing damage to
  connective tissue in humans and animals comprising administering a composition
  according to claim 1 to a human or animal in need thereof.” Compl. ¶ 46; see id., Ex. B
  (Dkt. 1-2) at 19. Plaintiffs sufficiently allege that Body Wise had the objective to promote
  Joint Complete to induce infringement under Claim 21 because Body Wise took active
  steps to advertise “an infringing use or instructing how to engage in an infringing use.”
  DSU Med. Corp., 471 F.3d at 1305. Body Wise allegedly advertised its product on the
  company website and Amazon, making claims that Joint Complete “helps keep joints
  comfortable and ready for action” and contains glucosamine and chondroitin, which are
  “nutritional building blocks for joints and connective tissue that also help lubricate and
  cushion joints,” and “ASU—phytonutrients clinically proven to benefit joint health.”
  Compl., Exs. C, D. Nutramax has sufficiently pleaded facts to state a claim for indirect
  infringement of Claim 21 of the ’697 Patent. Eitel factors 2 and 3 weigh in favor of granting
  the default judgment against Body Wise as to the indirect infringement claims.

                3. Sum of Money at Stake

          The fourth Eitel factor balances “the amount of money at stake in relation to the
  seriousness of the [d]efendant’s conduct.” Pepsico, 238 F. Supp. 2d at 1176. This requires
  the court assess whether the recovery sought is proportional to the harm caused by
  defendant’s conduct. See Walters v. Statewide Concrete Barrier, Inc., No. C 04-2559 JSW,
  2006 WL 2527776, *4 (N.D. Cal. Aug. 30, 2006) (“If the sum of money at issue is
  reasonably proportionate to the harm caused by the defendant’s actions, then default
  judgment is warranted”). “Default judgment is disfavored where the sum of money at stake
  is too large or unreasonable in relation to defendant’s conduct.” Vogel v. Rite Aid Corp.,
  992 F. Supp. 2d 998, 1012 (C.D. Cal. 2014). Under patent laws, a plaintiff may recover (1)
  damages to compensate for infringement; and (2) costs of the action, and in exceptional
  cases, attorneys’ fees. 35 U.S.C. §§ 284–85.

         Here, Nutramax requires an accounting of Body Wise’s revenues and profits earned
  from the sale of its infringing Joint Complete products in order to determine the damages
  it seeks. Mot. at 12. Nutramax requests reasonable attorneys’ fees in the amount of
  $20,144.50 and costs in the amount of $126.26. See Cox Decl. ¶¶ 12–15.
Case 8:18-cv-02076-DOC-KES Document 29 Filed 04/10/19 Page 7 of 12 Page ID #:273
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

   Case No. SA CV 18-2076-DOC (KESx)                                          Date: April 10, 2019
                                                                                            Page 7

         An approximation of awards Nutramax anticipates has been provided in email
  communications between the parties. In one email, Body Wise claims that Joint Complete
  made a gross sales of $556 through Amazon and generated approximately $100,000 in
  gross sales through channels other than Amazon. See Cox Decl., Ex. 4. Given the sum of
  money at stake balanced with the harm caused by defendant’s conduct, the Court
  determines that the fourth Eitel factor weighs in favor of granting the default judgment.

                4. Possibility of Dispute Concerning Material Facts

         The fifth Eitel factor requires the Court to consider the possibility of dispute as to
  material facts in the case. Where a plaintiff’s complaint is well-pleaded and the
  defendants make no effort to properly respond, the likelihood of disputed facts is very
  low. See Landstar Ranger, Inc. v. Parth Enters., Inc., 725 F. Supp. 2d 916, 921 (C.D.
  Cal. 2010).

         There is no indication from Defendant that there are material facts in dispute.
  Body Wise has made no effort to defend their actions by filing any answers or motions in
  response to Plaintiffs’ complaint. Defendants also expressly refused to litigate through
  their nonappearance and lack of response to court hearings. “Upon entry of default, all
  well-pleaded facts in the complaint are taken as true, except those relating to damages.”
  Pepsico, 238 F. Supp. 2d at 1177 (citing TeleVideo Sys., Inc., 826 F.2d at 917–18).
  Accordingly, this factor weighs in favor of default judgment.

                5. Possibility of Excusable Neglect
         The sixth Eitel factor considers the possibility that a defendant’s default resulted
  from excusable neglect. Vogel, 992 F. Supp. 2d at 1013; see also Eitel, 782 F.2d at 1471–
  72. Due process requires that interested parties be given notice of the pendency of the
  action and be afforded an opportunity to present their objections before a final judgment
  is rendered. Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950).
  While there is always a possibility that a defendant might appear and claim excusable
  neglect, where the defendants “were properly served with the Complaint, the notice of
  entry of default, as well as the papers in support of the instant motion,” this factor favors
  entry of default judgment. Shanghai Automation Instrument Co. Ltd. v. Kuei, 194 F.
  Supp. 2d 995, 1005 (N.D. Cal. 2001).

         Nutramax properly served Body Wise with a summons and complaint through
  personal service on its agent on November 29, 2018. Mot. at 4. Body Wise also affirmed
  receipt of the complaint in its email communication to Nutramax. See Cox Decl., Ex. 4.
  Moreover, Body Wise was served with Nutramax’s Application to the Clerk for Entry of
Case 8:18-cv-02076-DOC-KES Document 29 Filed 04/10/19 Page 8 of 12 Page ID #:274
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

   Case No. SA CV 18-2076-DOC (KESx)                                           Date: April 10, 2019
                                                                                             Page 8

  Default, as well as the Clerk’s Entry of Default. Mot. at 4–5; see Dkt. 16 and 17.
  However, Body Wise has neither answered nor responded to these requests. Defendant
  has simply avoided the case and has made no effort to defend this suit. Because the
  likelihood of excusable neglect is very low, this factor weighs in favor of default
  judgment.

                6. Strong Policy Favoring Decision on the Merits

         The seventh Eitel factor requires the Court to consider the strong judicial policy
  favoring decisions on the merits before granting default judgment. “Cases should be
  decided upon their merits whenever reasonably possible.” Eitel, 782 F.2d at 1472. But the
  mere existence of Rule 55(b) “indicates that this preference, standing alone, is not
  dispositive.” Pepsico, 238 F. Supp. 2d at 1177 (citation omitted). Rule 55(a) allows a
  court to decide a case before the merits are heard if defendant fails to appear and defend.
  Id. (“Defendant’s failure to answer plaintiffs’ complaint makes a decision on the merits
  impractical, if not impossible.”). Since Defendant failed to respond to Plaintiffs’ claims,
  the Court is not precluded from entering judgment against Defendants.

         Taken together, the seven Eitel factors weigh in favor of granting default judgment
  against Defendant.

         C.     Remedies

         Having determined that entry of default judgment is proper, the Court turns to
  the remedies sought. “A default judgment must not differ in kind from, or exceed in
  amount, what is demanded in the pleadings.” Fed. R. Civ. P. 54(c). Once “[i]njury is
  established[,]… plaintiff need prove only that the compensation sought relates to the
  damages that naturally flow from the injuries pled.” See Philip Morris USA, Inc. v.
  Castworld Prods., Inc., 219 F.R.D. 494, 498 (C.D. Cal. 2003). While the Court is not
  required to issue findings of fact as to liability, it must do so as to damages. Adriana Int'l
  Corp. v. Thoeren, 913 F.2d 1406, 1414 (9th Cir. 1990). The court can consider
  “‘declarations, calculations, and other documentation of damages in determining if the
  amount at stake if reasonable,’” when assessing whether “there is an adequate basis for
  the damages awarded in the default judgment.” Xerox Corp. v. American Mail Centers,
  Inc., 2016 WL 10834102, at *2 (C.D. Cal. Oct. 14, 2016) (quoted citation omitted).

        In this Motion for default judgment, Nutramax seeks (1) damages, the amount of
  which must be determined pursuant to an accounting; (2) a permanent injunction; and (3)
  reasonable attorneys’ fees and costs. Mot. at 12–13; 24–25.
Case 8:18-cv-02076-DOC-KES Document 29 Filed 04/10/19 Page 9 of 12 Page ID #:275
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

   Case No. SA CV 18-2076-DOC (KESx)                                          Date: April 10, 2019
                                                                                            Page 9

                1.     Damages

         In order to determine the total damages owed, Nutramax requests an accounting of
  Body Wise’s revenues and profits earned from the sale of its infringing product and the
  damages are based thereon. Mot. at 12. The closest approximation of damages that
  Defendant is allegedly liable for has been provided by Body Wise’s CFO in its email
  communication to Nutramax. See Cox Decl., Ex. 4. Accordingly, the Court GRANTS the
  request for an accounting and directs Defendant to provide an accounting of the sales,
  revenues, and profits earned from the sale of its infringing products no later than May 9,
  2019. Plaintiff shall have until June 10, 2019, to submit a brief to the Court regarding its
  request for monetary damages with respect to the claims in this action including any
  request for interest.

                2.     Injunctive Relief

          To be entitled to injunctive relief for patent infringement, a plaintiff must
  demonstrate: (1) that it has suffered an irreparable injury; (2) that remedies available at
  law, such as monetary damages, are inadequate to compensate for that injury; (3) that,
  considering the balance of hardships between the plaintiff and defendant, a remedy in
  equity is warranted; and (4) that the public interest would not be disserved by a permanent
  injunction. eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006). “While the
  decision to grant or deny permanent injunctive relief is an act of equitable discretion by the
  district court, the traditional principles of equity demand a fair weighing of the factors
  listed above, taking into account the unique circumstances of each case.” La Quinta
  Worldwide LLC v. Q.R.T.M., S.A. de C.V., 762 F.3d 867, 880 (9th Cir. 2014).

                       a.      Irreparable Injury

         First, Nutramax will suffer irreparable harm absent injunctive relief. “Price erosion,
  loss of goodwill, damage to reputation, and loss of business opportunities are all valid
  grounds for finding irreparable harm.” Celsis in Vitro, Inc. v. CellzDirect, Inc., 664 F.3d
  922, 930 (Fed. Cir. 2012). According to Nutramax, Body Wise’s infringement has resulted
  in a loss of business opportunities, because Body Wise is a direct competitor using the
  same channels in which Nutramax sells its products. Mot. at 18–19. This also affects the
  good will and reputation of Nutramax’s goods. Moreover, “Body Wise’s production and
  sale of infringing products directly affects Nutramax’s right to exclude, which is
  fundamental to patent law.” Id. (citing Robert Bosch LLC v. Pylon Mfg. Corp., 659 F.3d
  1142, 1149–51 (Fed. Cir. 2011)). The loss of market share and the impact on good will and
Case 8:18-cv-02076-DOC-KES Document 29 Filed 04/10/19 Page 10 of 12 Page ID #:276
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

   Case No. SA CV 18-2076-DOC (KESx)                                         Date: April 10, 2019
                                                                                          Page 10

  reputation of Nutramax’s goods accordingly weighs heavily in favor of a finding of
  irreparable injury.

                       b.      Inadequate Remedies at Law

         Second, absent injunctive relief, Nutramax has no viable remedy at law. In a
  permanent injunction analysis, the “inadequate remedy” factor overlaps with the
  “irreparable harm” factor so that they are practically “indistinguishable.” Metro-Goldwyn-
  Mayer Studios, Inc. v. Grokster, 518 F. Supp. 2d 1197, 1219 (C.D. Cal. 2007). If there is a
  substantial possibility that the plaintiff will be unable to recover a monetary award from
  the defendant, the plaintiff lacks an adequate remedy at law. Id. at 1219–20. Likewise, no
  adequate remedy exists where the defendant is likely to continue infringing the plaintiff’s
  rights absent an injunction. See Sony Music Entm’t Inc. v. Elias, No. CV03–6387DT
  (RCX), 2004 WL 141959, at *4 (C.D. Cal. Jan. 20, 2004).

         Nutramax alleges that it is highly unlikely Body Wise will be able to pay a monetary
  award. In an email message to Nutramax, the CFO of Body Wise stated that “[Body Wise]
  cannot afford legal counsel to weigh the merits of the Complaint or satisfy any monetary
  awards if the Complaint is pursued.” See Cox Decl., Ex. 7 at 2. Because Nutramax is not
  assured of collecting on a money judgment, this factor further weighs in favor of an
  equitable remedy. Nevertheless, monetary damages would not completely compensate
  Nutramax because Nutramax has suffered harm that is difficult to quantify. See Canon,
  Inc. v. GCC Int’I Ltd., 263 Fed. Appx. 57, 62 (Fed. Cir. 2008) (considering the
  improbability that the patentee could collect a money judgment as weighing in favor of an
  injunction). Therefore, this factor also weighs in favor of granting the injunction.

                       c.      Balance of Hardships

          Third, the balance of hardship also weighs in favor of a permanent injunction. The
  fact that an injunction might put an alleged infringer out of business ‘cannot justify denial
  of that injunction.’” Blackberry Ltd. v. Typo Prods. LLC, 2014 WL 1318689, at *12 (N.D.
  Cal. Mar. 28, 2014) (quoting Windsurfing Int’l Inc. v. AMF, Inc., 782 F.2d 995, 1003 n.12
  (Fed. Cir. 1986). Applying these standards to the instant action, nothing is currently
  preventing Body Wise from infringing Nutramax’s Asserted Patents in the future. This
  factor finds in favor of granting the permanent injunction.

                       d.      Public Interest

         Fourth, a permanent injunction would serve the public interest. “[T]he touchstone
  of the public interest factor is whether an injunction, both in scope and effect, strikes a
Case 8:18-cv-02076-DOC-KES Document 29 Filed 04/10/19 Page 11 of 12 Page ID #:277
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

   Case No. SA CV 18-2076-DOC (KESx)                                          Date: April 10, 2019
                                                                                           Page 11

  workable balance between protecting the patentee's rights and protecting the public from
  the injunction’s adverse effects.” i4i Ltd. P'ship v. Microsoft Corp., 598 F.3d 831, 863
  (Fed. Cir. 2010) aff’d, 564 U.S. 91 (2011). Granting a permanent injunction protects
  Plaintiff’s “federally protected rights, which is in the public interest, and would have no
  adverse effect on the public.” Deckers Outdoor Corp. v. Ozwear Connection Pty Ltd., 2014
  WL 4679001, at *13 (C.D. Cal. Sept. 18, 2014). Therefore, public interest favors injunctive
  relief.

        Accordingly, the request for a permanent injunction is GRANTED. Body Wise is
  permanently enjoined from infringing on Nutramax’s Asserted Patents.

                3.     Attorneys’ Fees and Costs

          Pursuant to 35 U.S.C. § 285, “[t]he court in exceptional [patent] cases may award
  reasonable attorney fees to the prevailing party.” An exceptional case “is simply one that
  stands out from others with respect to the substantive strength of a party’s litigating
  position (considering both the governing law and the facts of the case) or the
  unreasonable manner in which the case was litigated.” Octane Fitness, LLC v. ICON
  Health & Fitness, Inc., 134 S. Ct. 1749, 1756 (2014). “Criteria for declaring a case
  exceptional include willful infringement, bad faith, litigation misconduct, and
  unprofessional behavior.” Special Happy, Ltd. v. Lincoln Imports, Ltd., 2011 WL
  2650184, at *10 (C.D. Cal. July 6, 2011) (citing nCube Corp. v. Sea Change Int'l, Inc.,
  436 F.3d 1317, 1319 (Fed. Cir. 2006)). However, “a finding of willful infringement does
  not mandate that damages be increased or that attorney[‘]s fees be awarded….” Tate
  Access Floors, Inc. v. Maxcess Techs., Inc., 222 F.3d 958, 972 (Fed. Cir. 2000). District
  courts may exercise discretion to determine whether a case is exceptional, considering the
  totality of the circumstances. Octane Fitness, 134 S. Ct. at 1756.

         In light of the allegations in the Complaint, Defendant’s failure to defend this
  lawsuit, and the minimal motions filed and lack of any discovery at this stage, the Court
  exercises its discretion and awards $5,000.00 in attorneys’ fees and costs.

  IV.    Disposition

         For the reasons set forth above, the Court GRANTS the Motion for Default
  Judgment. The Court ORDERS Defendant to provide an accounting of the sales, revenues,
  and profits earned from the sale of its infringing products no later than May 9, 2019.
  Plaintiff shall have until June 10, 2019, to submit a brief to the Court regarding its request
  for monetary damages with respect to the claims in this action including any request for
Case 8:18-cv-02076-DOC-KES Document 29 Filed 04/10/19 Page 12 of 12 Page ID #:278
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

   Case No. SA CV 18-2076-DOC (KESx)                                       Date: April 10, 2019
                                                                                        Page 12

  interest. The Court GRANTS the requested permanent injunction. Body Wise is enjoined
  from infringing on the Asserted Patents. And the Court AWARDS $5,000 in attorneys’
  fees and costs.

         The clerk shall serve this minute order on the parties.


   MINUTES FORM 11                                                 Initials of Deputy Clerk djl
   CIVIL-GEN
